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                                        1   BRETT A. AXELROD, ESQ.                                     Electronically Filed March 23, 2023
                                            Nevada Bar No. 5859
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                                            Pro Hac Vice
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                                            Counsel for W. Lawrence Patrick
                                        8

                                        9                             UNITED STATES BANKRUPTCY COURT
                                       10                                       DISTRICT OF NEVADA
                                       11
                                            In re                                                Case No. BK-21-14978-abl
1980 Festival Plaza Drive, Suite 700




                                       12
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP




                                                SILVER STATE BROADCASTING, LLC,                  Jointly Administered with:
       (702) 597-5503 (fax)




                                       13
          (702) 262-6899




                                                                                                 Case No. BK-S-21-14979-abl
                                                    Affects Silver State Broadcasting, LLC       Case No. BK-S-21-14980-abl
                                       14
                                                    Affects Golden State Broadcasting, LLC
                                       15           Affects Major Market Radio, LLC              Chapter 11
                                                    Affects all Debtors
                                       16
                                                                                                 RECEIVER W. LAWRENCE PATRICK’S
                                       17                                                        MOTION FOR ALLOWANCE OF
                                       18                                                        ADMINISTRATIVE CLAIM PURSUANT
                                                                                                 TO 11 U.S.C. §§ 503(b)(3)(E), 503(b)(4) &
                                       19                                                        543(c)(2)

                                       20                                                        Hearing Date: May 1, 2023
                                                                                                 Hearing Time: 1:30 p.m.
                                       21

                                       22

                                       23           W. Lawrence Patrick (“Receiver”), former receiver of certain assets of the above-captioned
                                       24   jointly administered debtors and debtors in possession (the “Debtors”), hereby files this motion (the
                                       25   “Motion”) pursuant to sections 503(b)(3)(E), 503(b)(4) & 543(c)(2) of title 11 of the United States
                                       26   Code (the “Bankruptcy Code”), seeking entry of an order from this Court allowing the Receiver an
                                       27   administrative claim in the aggregate amount of (i) the Receiver’s prepetition fees and expenses
                                       28   (including compensation of his professionals) as authorized and/or approved by the United States

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                                        1   District Court for the Central District of California (the “District Court”), and (ii) the Receiver’s

                                        2   postpetition expenses (including compensation of his professionals) incurred in connection with the

                                        3   turnover of the receivership assets to the Debtors and the filing of his final accountings.1

                                        4           This Motion is based upon the Declaration of W. Lawrence Patrick (the “Patrick

                                        5   Declaration”), the Declaration of Brett A. Axelrod (the “Axelrod Declaration”), the Declaration of

                                        6   Fred D. Heather (the “Heather Declaration”), and the Declaration of Dawn M. Sciarrino (the

                                        7   “Sciarrino Declaration”) filed in support hereof, all other papers and pleadings filed in the Chapter 11

                                        8   Cases, and the Memorandum of Points and Authorities attached hereto.

                                        9           DATED this 23rd day of March 2023.

                                       10                                              FOX ROTHSCHILD LLP
                                       11
                                                                                       By:         /s/ Brett A. Axelrod
1980 Festival Plaza Drive, Suite 700




                                       12                                                    BRETT A. AXELROD, ESQ.
    Las Vegas, Nevada 89135




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                                                                                             NICHOLAS A. KOFFROTH, ESQ.
                                                                                             Appearing Pro Hac Vice
                                       14                                                    1980 Festival Plaza Drive, Suite 700
                                       15                                                    Las Vegas, Nevada 89135
                                                                                             Counsel for W. Lawrence Patrick
                                       16

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                                       26           1
                                                     This Motion is without prejudice to the Receiver’s right to seek allowance of any and all
                                       27   other administrative claims, including but limited to an administrative claim for the fees and expenses
                                            incurred in preparing this Motion and/or making a substantial contribution to the Debtors’ chapter 11
                                       28   cases.

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                                        1                        MEMORANDUM OF POINTS AND AUTHORITIES

                                        2                                                     I.

                                        3                                     JURISDICTION AND VENUE

                                        4           1.     This Court has jurisdiction to consider this Motion, pursuant to 28 U.S.C. § 1334. This

                                        5   matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(B). The statutory predicates

                                        6   for the relief sought herein are sections 503(b)(3)(E), 503(b)(4) & 543(b) of the Bankruptcy Code.

                                        7                                                     II.

                                        8                                       STATEMENT OF FACTS

                                        9   A.      Receiver’s Appointment

                                       10           2.     On July 6, 2020 (the “Appointment Date”), the District Court entered its Order

                                       11   Appointing W. Lawrence Patrick as Receiver in Aid of Post-Judgement Execution (the “Appointment
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                                       12   Order”), a true and correct copy of which is annexed as Exhibit 1 to the Patrick Declaration.2 Patrick
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                                       13   Declaration, ¶ 3 & Exhibit 1.
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                                       14           3.     Among other things, the Appointment Order appointed the Receiver to facilitate

                                       15   judgement against the Debtors by managing certain of their radio stations (the “Assets”) and soliciting

                                       16   offers for their sale. The Appointment Order granted the Receiver authority to do all acts “which may

                                       17   be necessary and proper to operate and manage the stations,” and approved the Receiver’s fees of

                                       18   $7,500 per month, plus a brokerage commission on any sale of the Assets. Patrick Declaration, ¶ 4

                                       19   & Exhibit 1.

                                       20           4.     On August 4, 2020, the District Court entered its Order on Receiver W. Lawrence

                                       21   Patrick’s Emergency Ex Parte Application for: (1) Order to Show Cause re: Defendants’ Ongoing

                                       22   Refusal to Comply with Execution of Judgment and Interference with Receiver’s Duties; and

                                       23   (2) Authority to Appoint Receiver’s Counsel (the “Counsel Order”), a true and correct copy of which

                                       24   is annexed as Exhibit 2 to the Patrick Declaration. Among other things, the Counsel Order authorized

                                       25   the Receiver to retain the law firm of Glaser, Weil, Fink, Howard, Avchen & Shapiro, LLP (“Glaser

                                       26
                                                    2
                                       27            For a description of the litigation leading up to the Appointment Order, see Emergency
                                            Motion to Excuse Turnover in Favor of Receiver and to Dismiss/Abstain, or, Alternatively, for Stay
                                       28   Relief and/or Conversion [Docket No. 45].

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                                        1   Weil”) in order to assist with securing Mr. Stolz’s compliance with the Receiver, as well as for such

                                        2   other purposes that the Receiver determined were reasonably necessary to further the interests of the

                                        3   Receivership. Patrick Declaration, ¶ 5 & Exhibit 2.

                                        4   B.      Receiver’s Fees And Expenses Approved By The District Court For The Period From
                                                    The Appointment Date To July 11, 2021
                                        5
                                                    5.     On July 16, 2021, the Receiver filed an accounting with the District Court (the
                                        6
                                            “Receiver Initial Accounting”), detailing his fees and expenses from the Appointment Date through
                                        7
                                            July 11, 2021 (the “Initial Period”), a true and correct copy of which is annexed as Exhibit 3 to the
                                        8
                                            Patrick Declaration. Patrick Declaration, ¶ 6 & Exhibit 3.
                                        9
                                                    6.     On August 2, 2021, the Receiver filed Receiver W. Lawrence Patrick’s Motion for
                                       10
                                            Fees and Costs from the Receivership Estate (the “Receiver Initial Fee Motion”), a true and correct
                                       11
                                            copy of which is annexed as Exhibit 4 to the Patrick Declaration. Among other things, the Receiver
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                                       12
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                                            Initial Fee Motion demonstrated that the Receiver’s counsel’s hourly rates and the hours they spent
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                                            providing services to the Receivership were reasonable under the circumstances. Patrick Declaration,
                                       14
                                            ¶ 7 & Exhibit 4.
                                       15
                                                    7.     On August 26, 2021, the District Court granted the Receiver Initial Fee Motion in part
                                       16
                                            in its order (the “Initial Award Order”), a true and correct copy of which is annexed as Exhibit 5 to
                                       17
                                            the Patrick Declaration. Patrick Declaration, ¶ 8 & Exhibit 5.
                                       18
                                                    8.     The Initial Award Order awarded the Receiver (a) $34,122.06 in out-of-pocket
                                       19
                                            expenditures, (b) $105,000.00 in monthly fees, (c) $60,000.00 as a stay bonus, and (d) $451,218.04
                                       20
                                            in counsel fees ($333,680.54 incurred by Glaser Weil, and $117,537.50 incurred by the Receiver’s
                                       21
                                            FCC counsel, Sciarrino & Shubert, PLLC (“Sciarrino & Shubert”)), for a total of $650,340.10 for the
                                       22
                                            Initial Period (collectively, the “Initial Awarded Compensation”).       Patrick Declaration, ¶ 9 &
                                       23
                                            Exhibit 5, p. 4; Sciarrino Declaration, ¶¶ 3 & 6; Heather Declaration, ¶¶ 3 & 8.
                                       24
                                                    9.     To date, the Debtors have not paid the Receiver any of the Initial Awarded
                                       25
                                            Compensation. Patrick Declaration, ¶ 10.
                                       26

                                       27

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                                            C.      Receiver’s Fees And Expenses Incurred For The Period July 12, 2021 To The Petition
                                        1           Date.
                                        2           10.    On October 19, 2021 (the “Petition Date”), the Debtors filed their petitions for relief
                                        3   under chapter 11 of the Bankruptcy Code.
                                        4           11.    From July 12, 2021 to the Petition Date (the “Prepetition Period”), the Receiver
                                        5   incurred $22,500.00 in monthly Receiver Fees ($7,500 per month for three months). In addition, in
                                        6   furtherance of his duties to the Receivership Estate, the Receiver incurred: (a) $71,681.25 in
                                        7   professional fees and $863.25 in expenses to Glaser Weil, as detailed in the Heather Declaration, ¶¶ 5
                                        8   & 8 & Exhibit 1 thereto; and (b) $33,437.50 in professional fees to Sciarrino & Shubert, as detailed
                                        9   in the Sciarrino Declaration, ¶¶ 4 & 6 & Exhibit 1 thereto. Patrick Declaration, ¶ 11.
                                       10           12.    In sum, the Receiver incurred a total of $128,482.00 in fees and expenses in
                                       11   furtherance of his duties to the Receivership Estate during the Prepetition Period (the “Prepetition
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                                       12   Compensation”). Patrick Declaration, ¶ 12.
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                                                    13.    As discussed in Section II.E below, on February 22, 2023, the District Court entered
                                       14   its order approving, among other things, the Prepetition Compensation (the “Prepetition Awarded
                                       15   Compensation”). Patrick Declaration, ¶ 13.
                                       16           14.    To date, the Debtors have not paid the Receiver any of the Prepetition Awarded
                                       17   Compensation. Patrick Declaration, ¶ 14.
                                       18   D.      Receiver’s Fees And Expenses Incurred After The Petition Date In Connection With
                                                    The Turnover Of The Assets And Final Accounting.3
                                       19
                                                    15.    On November 9, 2021, the District Court entered its Order on Receiver W. Lawrence
                                       20
                                            Patrick’s Emergency Ex Parte Application for Authority to Appoint Bankruptcy Counsel (the
                                       21
                                            “Bankruptcy Counsel Order”), a true and correct copy of which is annexed as Exhibit 6 to the Patrick
                                       22
                                            Declaration. The Bankruptcy Counsel Order authorized the Receiver to retain the law firm of Fox
                                       23
                                            Rothschild LLP (“Fox Rothschild”) in order to assist the Receiver in responding to the Debtors’
                                       24

                                       25
                                                    3
                                                      This Motion seeks compensation only for the services performed in connection with the
                                       26
                                            Turnover during the Postpetition Period, and is without prejudice to the Receiver’s right to seek
                                       27   allowance of any and all other administrative claims, including but limited to an administrative claim
                                            for the fees and expenses incurred in preparing this Motion and/or making a substantial contribution
                                       28   to the Debtors’ chapter 11 cases.

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                                        1   bankruptcy petitions, as well as for such other purposes that the Receiver determined were reasonably

                                        2   necessary to further the interests of the Receivership. Patrick Declaration, ¶¶ 15-16 & Exhibit 6.

                                        3           16.    After the Petition Date (the “Postpetition Period”), the Receiver turned over the Assets

                                        4   to the Debtors and prepared, among other things, the Receiver’s Final Accounting [ECF No. 141],

                                        5   Notice of Receiver’s Supplemental Accounting [ECF No. 326], and Declaration of W. Lawrence

                                        6   Patrick in support of Notice of Receiver’s Supplemental Accounting [ECF No. 327] (collectively, the

                                        7   “Turnover”). Patrick Declaration, ¶ 17.

                                        8           17.    In connection with the Turnover, the Receiver incurred: (a) $57,023.50 in professional

                                        9   fees to Fox Rothschild, as detailed in the Axelrod Declaration, ¶¶ 3-4 & Exhibit 1 thereto;

                                       10   (b) $7,425.00 in professional fees to Glaser Weil, as detailed in the Heather Declaration, ¶¶ 6-8 &

                                       11   Exhibit 2 thereto; and (b) $22,750.00 in professional fees to Sciarrino & Shubert as detailed in the
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                                       12   Sciarrino Declaration, ¶¶ 5-6 & Exhibit 2 thereto. Patrick Declaration, ¶ 18.
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                                       13           18.    In sum, the Receiver incurred a total of $87,198.50 in fees in connection with the
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                                       14   Turnover during the Postpetition Period (the “Postpetition Turnover Compensation”).            Patrick

                                       15   Declaration, ¶ 19.

                                       16   E.      District Court Order Approving Receiver’s Final Accounting And Awarding Fees

                                       17           19.    On January 18, 2023, the Receiver filed Receiver W. Lawrence Patrick’s Notice of

                                       18   Motion and Motion for an Order Approving of Receiver’s Final Report and Accounting as to all

                                       19   Defendants except Silver State Broadcasting, LLC and Golden State Broadcasting and an Award of

                                       20   Fees and Costs (the “Receiver Final Fee Motion”), a true and correct copy of which is annexed as

                                       21   Exhibit 7 to the Patrick Declaration. Patrick Declaration, ¶ 20 & Exhibit 7.

                                       22           20.    The Receiver Final Fee Motion sought approval of all fees and expenses incurred by

                                       23   the Receiver and his counsel (Glasser Weil, Sciarrino & Shubert, and Fox Rothschild) during the

                                       24   Prepetition Period and the Postpetition Period, including the fees and expenses incurred in connection

                                       25   with the Turnover. The Receiver Final Fee Motion detailed the services provided and demonstrated

                                       26   that the Receiver’s counsel’s hourly rates and the hours they spent providing services to the

                                       27   Receivership were reasonable under the circumstances. Patrick Declaration, ¶ 21 & Exhibit 7.

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                                        1           21.    On February 22, 2023, the District Court entered its order approving the Receiver Final

                                        2   Fee Motion (the “Final Award Order”), a true and correct copy of which is annexed to the Patrick

                                        3   Declaration as Exhibit 8. Patrick Declaration, ¶ 22 & Exhibit 8.

                                        4           22.    The Final Award Order reconfirmed the District Court’s award of the Initial Awarded

                                        5   Compensation, and additionally awarded the following amounts as fees and expenses incurred in

                                        6   connection with the Prepetition and Postpetition Periods: (a) $120,000.00 to the Receiver;

                                        7   (b) $658,108.63 to Glaser Weil; (c) $91,691.67 to Sciarrino & Shubert; and (d) $617,936.55 to Fox

                                        8   Rothschild (collectively, the “Final Awarded Compensation”). Patrick Declaration, ¶ 23 & Exhibit 8,

                                        9   p. 2.

                                       10           23.    To date, the Receiver has not received any of the Final Awarded Compensation.

                                       11   Patrick Declaration, ¶ 24.
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                                       12                                                   III.
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                                       13                          STATUTORY BASIS FOR RELIEF REQUESTED
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                                       14           24.    Section 543(b) provides that:

                                       15                  A custodian4 shall –
                                       16
                                                           (1) deliver to the trustee any property of the debtor held by or transferred to
                                       17                  such custodian, or proceeds, product, offspring, rents, or profits of such
                                                           property, that is in such custodian’s possession, custody, or control on the date
                                       18                  that such custodian acquires knowledge of the commencement of the case; and
                                       19
                                                           (2) file an accounting of any property of the debtor, or proceeds, product,
                                       20                  offspring, rents, or profits of such property, that, at any time, came into the
                                                           possession, custody, or control of such custodian.
                                       21
                                            11 U.S.C. § 543(b).5
                                       22
                                                    25.    Section 543(c)(2) provides that “The court, after notice and a hearing, shall -- provide
                                       23
                                            for the payment of reasonable compensation for services rendered and costs and expenses incurred
                                       24
                                            by such custodian.” 11 U.S.C. § 543(c)(2).
                                       25

                                       26           4
                                                     “Custodian” is defined to include a “receiver . . . of any of the property of the debtor,
                                            appointed in a case or proceeding not under this title.” 11 U.S.C. § 101(11)(A).
                                       27
                                                    5
                                                     The court may excuse compliance with section 543(b) if in the interest of creditors. See 11
                                       28   U.S.C. § 543(d)(1).

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                                        1           26.    “After being superseded, the custodian is entitled to apply to the bankruptcy court

                                        2   pursuant to 11 U.S.C. § 543(c)(2) for reasonable compensation for services rendered and costs and

                                        3   expenses incurred, including legal fees reasonably incurred in connection with the custodian’s

                                        4   services. Reasonable compensation for legal services for a superseded custodian is determined in

                                        5   accordance with standards prescribed under the Bankruptcy Code, and ‘based on the time, nature, the

                                        6   extent and the value of such services, and the cost of comparable services other than in a case under

                                        7   [the Bankruptcy Code].’ 11 U.S.C. § 503(b)(4). Moreover, the Bankruptcy Code contemplates that

                                        8   additional legal services will be incurred in preparing the custodian’s application for payment in

                                        9   accordance with the standards required under the Code.” In re Snergy Props., Inc., 130 B.R. 700,

                                       10   705 (Bankr. S.D.N.Y. 1991); see also 5 Collier on Bankruptcy (“Collier”) ¶ 543.04 (16th ed. 2022

                                       11   rev.) (“The section 543(c)(2) ‘reasonable compensation’ standard has been applied in the same
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                                       12   manner as the ‘reasonable compensation’ provision of section 330(a)(1)(A).”).
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                                       13           27.    In addition, section 503(b)(3)(E) provides that: “After notice and a hearing, there shall
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                                       14   be allowed administrative expenses, . . . including -- the actual, necessary expenses . . . incurred

                                       15   by . . . a custodian superseded under section 543 of this title, and compensation for the services of

                                       16   such custodian.” 11 U.S.C. § 503(b)(3)(E). “Section 503(b)(3)(E) authorizes compensation for both

                                       17   postpetition and prepetition services of a custodian or receiver superseded under section 543.”

                                       18   4 Collier ¶ 503.10[6].

                                       19           28.    Section 503(b)(4) allows administrative expenses for “reasonable compensation for

                                       20   professional services rendered by an attorney or an accountant of an entity whose expense is allowable

                                       21   under subparagraph . . . (E) of paragraph (3) of this subsection, based on the time, the nature, the

                                       22   extent, and the value of such services, and the cost of comparable services other than in a case under

                                       23   this title, and reimbursement for actual, necessary expenses incurred by such attorney or accountant.”

                                       24   11 U.S.C. § 503(b)(4).    “Section 503(b)(4) provides administrative expense status for the cost of

                                       25   professional services rendered to an entity whose expenses are allowable under subsection . . . (E) of

                                       26   section 503(b)(3). The section also grants administrative expense status for the actual, necessary

                                       27   expenses incurred by such attorney or accountant.” 4 Collier ¶ 503.11.

                                       28

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                                        1           29.     “11 U.S.C. § 503(b)(3)(E) expressly authorizes compensation for the prepetition

                                        2   services of a custodian or receiver superseded under 11 U.S.C. § 543 and is an exception to the general

                                        3   rule with respect to the allowance of compensation for exclusively postpetition activities as an

                                        4   administrative expense. Unlike the requirement in subsection (D) under § 503(b)(3), subsection (E),

                                        5   which governs superseded custodians, does not require that the services of the custodian made ‘a

                                        6   substantial contribution’ in the Chapter 11 case. Moreover, the costs and expenses of a prepetition

                                        7   custodian or receiver superseded under 11 U.S.C. § 543 include the expense of counsel fees incurred

                                        8   by the custodian or receiver, for which prior court approval is not expressed as a prerequisite for

                                        9   allowances.” Snergy Props, 130 B.R. at 704.

                                       10                                                    IV.

                                       11                 SUMMARY OF DUTIES PERFORMED AND SERVICES RENDERED
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                                       12   A.      Initial Period
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                                       13           30.     In awarding $650,340.10 of the Receiver’s fees and expenses for the Initial Period, the
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                                       14   District Court determined that such compensation was reasonable, based on the time, the nature, the

                                       15   extent, and the value of such services:

                                       16                   The Court is inclined to award the Receiver out-of-pocket expenditures,
                                                            compensation, and counsel fees. These are provided for in the Receivership
                                       17                   Order and in the Court’s order authorizing the Receiver to appoint counsel. . . .
                                       18                   The Receiver represents that his counsel’s hourly rates range from $500-$975
                                                            an hour. This is reasonable, considering the complexity of this litigation.
                                       19                   Additionally, the Receiver submitted sufficient accounting for his counsel’s
                                                            time. Because the Court is well aware of the difficulty of the Receiver’s job
                                       20                   over the course of the last year, it finds the requested rates appropriate. It
                                                            therefore awards him $34,122.06 in out-of-pocket expenditures; $105,000 in
                                       21
                                                            monthly fees; and $451,218.04 in counsel fees. . . . Additionally, as discussed
                                       22                   below, because the Court cannot dissolve the Receivership for at least two
                                                            months, the Court approves the payment of and reimbursement for “stay
                                       23                   bonuses” in the amount of $60,000.
                                       24   Patrick Declaration, Exhibit 5.

                                       25           31.     Thus, the District Court, having intimate familiarity with the Receiver’s duties and his

                                       26   performance thereof, entered the Initial Award Order based on its consideration of factors similar to

                                       27   those set forth in section 503(b)(4) (“the time, the nature, the extent, and the value of such services”).

                                       28   See Patrick Declaration, ¶ 25 & Exhibit 5.

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                                        1           32.    The Receiver respectfully requests that the Court accord the Initial Award Order

                                        2   deference and award the Receiver an administrative claim of $650,340.10 as reasonable compensation

                                        3   for services rendered and reimbursement of actual, necessary expenses incurred during the Initial

                                        4   Period. Patrick Declaration, ¶ 26.

                                        5   B.      Prepetition Period

                                        6           33.    As set forth in the Patrick, Heather and Sciarrino Declarations and the invoices

                                        7   attached as Exhibits thereto (all of which were included in the Receiver Final Fee Motion), the

                                        8   Receiver incurred a total of $128,482.00 in fees and expenses in furtherance of his duties to the

                                        9   Receivership Estate during the Prepetition Period. Patrick Declaration, ¶ 27 & Exhibit 7; see also

                                       10   Heather Declaration, ¶¶ 5 & 8 & Exhibit 1 thereto; Sciarrino Declaration, ¶¶ 4 & 6 & Exhibit 1

                                       11   thereto.
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                                       12           34.    The services included, but were not limited to, (a) opposing the Debtors’ efforts to
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                                       13   prematurely discharge the receivership and (b) processing the applications for assignment of the
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                                       14   Debtors’ radio broadcast licenses issued by the FCC from the Receiver to an unrelated third party and

                                       15   other regulatory matters before the FCC. See Heather Declaration, ¶ 5 & Exhibit 1 thereto; Sciarrino

                                       16   Declaration, ¶ 4 & Exhibit 1 thereto.

                                       17           35.    The District Court, having intimate familiarity with the Receiver’s duties and his

                                       18   performance thereof, entered the Final Fee Award, awarding the Receiver all requested compensation

                                       19   for services rendered and reimbursement of actual, necessary expenses incurred during the Prepetition

                                       20   Period. See Patrick Declaration, ¶ 28 & Exhibit 8.

                                       21           36.    The Receiver respectfully requests that the Court accord the Final Award Order

                                       22   deference and award the Receiver an administrative claim in the amount of $128,482.00 as reasonable

                                       23   compensation for services rendered and reimbursement of actual, necessary expenses incurred during

                                       24   the Prepetition Period. Patrick Declaration, ¶ 29.

                                       25   C.      Postpetition Period

                                       26           37.    As detailed in the Patrick, Axelrod, Heather and Sciarrino Declarations and the

                                       27   invoices attached as Exhibits thereto, the Receiver incurred a total of $87,198.50 in fees in connection

                                       28   with the Turnover during the Postpetition Period. Patrick Declaration, ¶ 30; see also Axelrod

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                                        1   Declaration, ¶¶ 3-4 & Exhibit 1 thereto; Heather Declaration, ¶¶ 6-8 & Exhibit 2 thereto; Sciarrino

                                        2   Declaration, ¶¶ 5-6 & Exhibit 2 thereto.

                                        3           38.      The services included, but were not limited to, (a) preparing, filing and associated

                                        4   actions related to FCC applications to assign the radio broadcast licenses back to the Debtors, and (b)

                                        5   preparing and/or responding to the following pleadings:

                                        6                Receiver’s Accounting Pursuant to Order Granting Debtor’s Emergency Motion
                                        7                 for Turnover [Docket No. 115] [ECF No. 141]
                                                              o Request for Judicial Notice in Support of Receiver’s Accounting Pursuant
                                        8                        to Order Granting Debtor’s Emergency Motion for Turnover [Docket No.
                                                                 115] [ECF No. 142]
                                        9                     o Declaration of W. Lawrence Patrick in Support of Receiver’s Accounting
                                                                 Pursuant to Order Granting Debtor’s Emergency Motion for Turnover
                                       10
                                                                 [Docket No. 115] [ECF No. 148]
                                       11
                                                         Debtors’ Motion for Order: (1) Enforcing Receiver’s Compliance with Turnover;
1980 Festival Plaza Drive, Suite 700




                                       12                 (2) for Contempt; and (3) for Sanctions [ECF No. 186]
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP




                                                              o Opposition to Debtors’ Motion for Order: (1) Enforcing Receiver’s
       (702) 597-5503 (fax)




                                       13
          (702) 262-6899




                                                                  Compliance with Turnover; (2) for Contempt; and (3) for Sanctions [ECF
                                       14                         No. 204]
                                                              o Declaration of Nicholas S. Koffroth in Support of Opposition to Debtors’
                                       15                         Motion for Order: (1) Enforcing Receiver’s Compliance with Turnover;
                                                                  (2) for Contempt; and (3) for Sanctions [ECF No. 205]
                                       16                     o VCY America, Inc.’s Limited Opposition to Debtors’ Motion for Order:
                                                                  (1) Enforcing Receiver’s Compliance with Turnover; (2) for Contempt;
                                       17                         and (3) for Sanctions [ECF No. 206]
                                       18                     o Declaration of Ogonna M. Brown, Esq. in Support of VCY America, Inc.’s
                                                                  Limited Opposition to Debtors’ Motion for Order: (1) Enforcing
                                       19                         Receiver’s Compliance with Turnover; (2) for Contempt; and (3) for
                                                                  Sanctions [ECF No. 207]
                                       20                     o Omnibus Reply to Oppositions to Debtors’ Motion for Order: (1)
                                                                  Enforcing Receiver’s Compliance with Turnover; (2) for Contempt; and
                                       21                         (3) for Sanctions [ECF No. 223]
                                       22
                                                         Notice of Receiver’s Supplemental Accounting [ECF No. 326]
                                       23                    o Declaration of W. Lawrence Patrick in Support of Notice of Receiver’s
                                                                 Supplemental Accounting and Related Exhibits [ECF No. 327]
                                       24
                                            see also Axelrod Declaration, ¶¶ 8-9 & Exhibit 1 thereto; Heather Declaration, ¶ 6 & Exhibit 2
                                       25
                                            thereto; Sciarrino Declaration, ¶ 5 & Exhibit 2 thereto.
                                       26
                                                    39.      Among other things, the Receiver and his counsel were required to (a) respond to three
                                       27
                                            separate letters from the Debtors with detailed information requests and lists of random assets and
                                       28

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                                        1   equipment that the Debtors had never transferred to the Receiver, but demanded be turned over, and

                                        2   (b) draft sixty (60) separate Monthly Operating Reports (one report for each Debtor during each

                                        3   month of the Receivership). Axelrod Declaration, ¶ 10.

                                        4           40.      The Receiver submits that the Postpetition Turnover Compensation is fair and

                                        5   reasonable given (a) the complexity of the Chapter 11 Cases, (b) the time expended, (c) the nature

                                        6   and extent of the services rendered, (d) the value of such services, and (e) the costs of comparable

                                        7   services in a case other than under this title. Patrick Declaration, ¶ 31.

                                        8           41.      Further, as noted above, the District Court has approved the Postpetition Turnover

                                        9   Compensation as part of the Final Award Order. Patrick Declaration, ¶ 32 & Exhibit 8.

                                       10           42.      Accordingly, the Receiver respectfully requests that the Court also award the Receiver

                                       11   an administrative claim in the amount of $87,198.50 as reasonable compensation for services
1980 Festival Plaza Drive, Suite 700




                                       12   rendered in connection with the Turnover during the Postpetition Period. Patrick Declaration, ¶ 33.
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



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                                       13           43.      In sum, the aggregate amount of compensation requested in this Motion is as follows:
          (702) 262-6899




                                       14                                                                                        Grand
                                                    Professional             Initial Period    Prepetition      Postpetition
                                       15                                                      Period           Period -         Total:
                                                                                                                Turnover
                                       16
                                                    Receiver Fees               $199,122.06      $22,500.00              $0.00
                                       17           Glaser Weil                 $333,680.54      $72,544.50          $7,425.00
                                       18           Sciarrino & Shubert         $117,537.50      $33,437.50        $22,750.00

                                       19           Fox Rothschild                     $0.00           $0.00       $57,023.50
                                                    Total:                      $650,340.10     $128,482.00        $87,198.50    $866,020.60
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                                        1                                                    V.

                                        2                                            CONCLUSION

                                        3           WHEREFORE, the Receiver respectfully requests the Court to enter an order (i) awarding the

                                        4   Receiver an administrative claim, pursuant to Bankruptcy Code sections 503(b)(3)(E), 503(b)(4) &

                                        5   543(b), in the aggregate amount $866,020.60, comprised of reasonable compensation for services

                                        6   rendered and reimbursement of actual, necessary expenses incurred from the Appointment Date

                                        7   through September 19, 2022, and (ii) granting other and further relief as this Court may deem just

                                        8   and proper.

                                        9           DATED this 23rd day of March 2023.

                                       10                                           FOX ROTHSCHILD LLP
                                       11
                                                                                    By:         /s/ Brett A. Axelrod
1980 Festival Plaza Drive, Suite 700




                                       12                                                 BRETT A. AXELROD, ESQ.
    Las Vegas, Nevada 89135




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                                       13
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                                                                                          NICHOLAS A. KOFFROTH, ESQ.
                                                                                          Appearing Pro Hac Vice
                                       14                                                 1980 Festival Plaza Drive, Suite 700
                                       15                                                 Las Vegas, Nevada 89135
                                                                                          Counsel for W. Lawrence Patrick
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